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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 THE NEW YORK TIMES COMPANY,

                            Plaintiffs,                   Case No. 1:23-CV-11195-SHS

           v.

 MICROSOFT CORPORATION, et al.,

                            Defendants.


    DEFENDANT MICROSOFT CORPORATION’S RESPONSE TO PLAINTIFF’S
              MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Paragraph 22 of the Protective Order (ECF No. 127), Defendant Microsoft

Corporation responds to Plaintiff New York Times Company’s (“NYT”) Motion for Leave to File

Under Seal (ECF No. 318) (“Motion”) filed in connection with NYT’s letter motion to compel

(“Letter Motion”) (ECF No. 322). For the reasons stated below, Microsoft respectfully requests

the Court grant Plaintiff’s Motion. Specifically, Microsoft requests that the redacted portions of

the third and fourth full paragraphs on page 3 that describe Exhibits 3 and 4 of the Letter Motion

(as illustrated in the redacted Letter Motion filed at ECF No. 323) and Exhibits 3 (ECF No. 322-

2) and 4 (ECF No.322-3) thereto be sealed.

       Although “[t]he common law right of public access to judicial documents is firmly rooted

in our nation’s history,” this right is not absolute and courts “must balance competing

considerations against” the presumption of access. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d

110, 119–20 (2d Cir. 2006). “The proponent of sealing ‘must demonstrat[e] that closure is essential

to preserve higher values and is narrowly tailored to serve that interest.’” Bernstein v. Bernstein

Litowitz Berger & Grossman LLP, 814 F.3d 132, 144 (2d Cir. 2016) (quoting In re N.Y. Times

Co., 828 F.2d 110, 116 (2d Cir. 1987)). “[T]he presumption of public access in filings submitted
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in connection with discovery disputes . . . is generally somewhat lower than the presumption

applied to material introduced at trial, or in connection with dispositive motions . . . .” Brown v.

Maxwell, 929 F.3d 41, 50 (2d Cir. 2019). “[W]hile a court must still articulate specific and

substantial reasons for sealing such material, the reasons usually need not be as compelling as

those required to seal summary judgment filings.” Id.

         The Letter Motion contains descriptions of Exhibits 3 and 4 thereto, which are confidential

documents, the disclosure of which would unfairly prejudice Microsoft. Exhibits 3 and 4 to the

Letter    Motion,    which    have   been    designated    “CONFIDENTIAL”         and    “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to the Protective Order, contain

highly confidential information about the terms of and ongoing work pursuant to Microsoft’s

agreement with OpenAI. See Ex. A (Declaration of Lucky Vidmar). Microsoft requests that the

second and third full paragraphs on page 3 in the redacted portions of the Letter Motion are sealed

from the public and Exhibits 3 and 4 be sealed in their entirety.

         The information Microsoft seeks to seal and redact is the type of information commonly

found to warrant sealing. See Regeneron Pharms., Inc. v. Novartis Pharma AG, No. 1:20-CV-

05502, 2021 WL 243943 (S.D.N.Y. Jan. 25, 2021) (finding that requested redactions were

“narrowly tailored to protect competitive business information, including the non-public terms of

[various agreements]” and concluding “that the sensitivity of this information outweighs the

presumption of access”); Louis Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485,

511 (S.D.N.Y. 2015) (citation omitted) (concluding that proposed redactions were “generally

limited to specific business information and strategies, which, if revealed, ‘may provide valuable

insights into a company’s current business practices that a competitor would seek to exploit.’”).




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       For the reasons stated above, and those set forth in the Declaration of Lucky Vidmar,

Microsoft respectfully requests that the NYT’s Motion for Leave to File Under Seal (ECF No.

318) be granted in part. Specifically, Microsoft requests that the second and third full paragraphs

on page 3 in the redacted portions of the Letter Motion are sealed from the public and Exhibits 3

and 4 be sealed in their entirety.

Dated: November 20, 2024                             Respectfully submitted,

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